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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  Nov. 3, 2021
Brian Fischler, individually and on behalf of
all other persons similarly situated,
                                    Plaintiff,
                    -against-                                21-CV-7457-ALC

 Oddfellows Management LLC,                                  ORDER
                                    Defendant.


ANDREW L. CARTER, JR., United States District Judge:

       Defendant's answer deadline was October 27, 2021. ECF No. 5. To date, Defendant has not filed an

answer or otherwise responded to the Complaint. Plaintiff is hereby ORDERED to submit a status report

on how he would like to proceed with this case no later than November 10, 2021.

SO ORDERED.



Dated: Nov. 3, 2021
       New York, New York

                                                     ___________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
